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                     EXHIBIT A
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                                                                          Up to Voicemail      Page
                                                                                          Re Domain Sale11 of 18



                                                                                           Michael Cilento <michael@ilawco.com>



  Fwd: Follow Up to Voicemail Re Domain Sale
  1 message




            Begin forwarded message:

            From: Mike Rodenbaugh <mike@rodenbaugh.com>
            Subject: Re: Follow Up to Voicemail Re Domain Sale
            Date: December 12, 2014 at 12:37:20 AM EST
            To: David Lahoti <david@virtualpoint.com>
            Cc: Brett Wakino <brett@wakino.com>, Marie Richmond <marie@rodenbaugh.com>, Melanie Kimery
            <melanie@rodenbaugh.com>

            Dave,

            My duty of loyalty to you is now in question, as you have threatened legal action and consequently our
            communications have become antagonistic. I cannot fully and fairly represent you under these
            circumstances; so they need to be resolved quickly, as we have pressing matters. Please consider your
            next communications and decision carefully, and I will do the same. If we do not reach mutual resolution
            quickly, then I will need to end our attorney-client relationship.

            Thanks,
            Mike

            Mike Rodenbaugh
            RODENBAUGH LAW
            tel/fax: +1.415.738.8087
            http://rodenbaugh.com

            On Thu, Dec 11, 2014 at 9:11 PM, David Lahoti <david@virtualpoint.com> wrote:
             Shame on you for crossing the line...

              Sent from iPhone

              On Dec 11, 2014, at 8:51 PM, Mike Rodenbaugh <mike@rodenbaugh.com> wrote:


                      Dave,

                      After a very brief trial, I am no longer going to do Skype video chat with you. Because we
                      have so many communications, and you are now threatening me with some sort of legal
                      action, I need to keep all our communications in one sorted, searchable and easily archived
                      medium.

                      In response to some of your questions, our retention agreement is attached. It was for a
                      very limited scope, with all additional work to be mutually agreed. By course of
                      performance over the last several years, you have instructed me to take various actions
                      and have paid our agreed hourly rates for those actions, which is appreciated and typical of
                      all our clients. You also have repeatedly paid our invoices from settlement funds received
                      into our trust account, as is typical of our clients and is entirely ethically appropriate. It is
                      also a primary reason I have not always required an advanced fee retainer. Moreover,
                      none of those cases got as far as these two seem likely to go. In any event, you appear
                      to dispute ownership of some or all of the funds received in trust for settlement of
                      the taxpert matter, and therefore I will not use them to pay your invoices until you
https://mail.google.com/mail/u/1?ik=76c73b1610&view=pt&search=all&permthid=thread-f%3A1670296184712769718&simpl=msg-f%3A16702961847…   1/3
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                     affirmatively agree. If you do not affirmatively agree by Jan. 15, or otherwise pay
                     your entire invoiced balance in full and on time (in which event we will forward all of
                     the funds in the trust account), or provide reasonable explanation of any dispute,
                     then you will be in breach of our agreement as to fees.

                     Our litigation clients typically pay an advanced fee retainer, this protects us both. I have
                     already communicated our advanced fee retainer requirements for the ongoing litigation,
                     but I will emphasize them from my Dec. 9 email: "I must require a $20k advanced fee
                     retainer for Rosenzweig, which will remain in our trust account until that matter is
                     concluded; while you continue to pay monthly invoices in full and on time per our
                     agreement. Given our relationship, I will not require an advance fee retainer for Hedera at
                     this point, provided you continue to make the monthly invoice payments in full and on time.
                     I note VPI's last payment did not pay all invoices in full; but I am even more concerned
                     about the next few months when fees and costs are going to be significantly higher." We
                     cannot accept the risk of working in ongoing litigation without a sufficient advanced fee
                     retainer to cover expected work. If the advanced fee retainer is not timely received in
                     the next ten days, then we will move the court to withdraw from the Rosenzweig
                     litigation because we will not be ensured of payment, and we will immediately
                     demand advanced fee retainer payment in the Hedera matter. Meanwhile we will
                     continue with the pressing discovery in the Rosenzweig matter and with the amended
                     complaint due soon in the Hedera matter.

                     In response to your demand that I decrease my hourly rate to $300, I refuse to do so.
                     Furthermore, note that most of our clients pay substantially higher hourly rates than you are
                     paying, as I have not raised my rate for your work since our first matter in 2010. I had not
                     recognized that, and of course our costs have increased significantly since then, and so I
                     will need to raise our rates for your work now. This message constitutes the required
                     30-day notice of a rate increase, which will be effective as of January 10. My rate will
                     increase to my standard rate of $475/hour, and Marie's to her standard rate of
                     $275/hour.

                     I regret that our communications seem to have gotten off track. Hopefully this one is clear.
                     Please let me know any questions.

                     Thanks,
                     Mike

                     Mike Rodenbaugh
                     RODENBAUGH LAW
                     tel/fax: +1.415.738.8087
                     http://rodenbaugh.com

                     On Tue, Dec 9, 2014 at 6:45 PM, David Lahoti <david@virtualpoint.com> wrote:
                      Mike,

                       Again, we had a mutual understanding yesterday that we would discuss this via Skype.

                       I tried to reach you today via Skype around the time you said you would be available, but
                       you were still unavailable.

                       As a result, I've sent you Skype recordings in response.

                       Sincerely,
                       Dave

                       Please see On 12/9/2014 11:19 AM, Mike Rodenbaugh wrote:

                               Dave, re the finances:

                               VPI currently owes us about $11k through Nov. 30.

                               Both Hedera and Rosenzweig cases are now into continuous litigation,
                               apparently unlikely to settle any time soon. I expect fees and costs
                               typically will range $5k to $10k per month, combined; but December and
                               January likely to be much higher than that if we have to oppose the Hedera
https://mail.google.com/mail/u/1?ik=76c73b1610&view=pt&search=all&permthid=thread-f%3A1670296184712769718&simpl=msg-f%3A16702961847…   2/3
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                               motion while also dealing with discovery and the settlement conference
                               with Rosenzweig. The ramp-up to the settlement conference, plus
                               preparation for the expected depositions, plus attendance at the
                               conference is expected to cost at least $10k. If we do not settle at the
                               settlement conference -- and I expect that is unlikely -- then depositions the
                               following two days will add another $10k at least. Therefore I am
                               reasonably anticipating from $20k to $30k in fees and costs in January
                               alone for the two matters.

                               So, I must require a $20k advanced fee retainer for Rosenzweig, which will
                               remain in our trust account until that matter is concluded; while you
                               continue to pay monthly invoices in full and on time per our agreement.
                               Given our relationship, I will not require an advance fee retainer for Hedera
                               at this point, provided you continue to make the monthly invoice payments
                               in full and on time. I note VPI's last payment did not pay all invoices in full;
                               but I am even more concerned about the next few months when fees and
                               costs are going to be significantly higher.

                               As for the $13k received in the taxpert.com matter, I would like to deduct
                               what is currently owed in that and the other matters, and then credit the
                               rest against the $20k advance fee retainer -- so you need to pay around
                               $18k more at this point, within the next ten days please. Melanie will have
                               the invoices through Nov. out to you tonight or tomorrow night, with the
                               precise numbers. Once you have reviewed those, then please let me know
                               any questions.

                               Thanks,
                               Mike

                               Mike Rodenbaugh
                               RODENBAUGH LAW
                               tel/fax: +1.415.738.8087
                               http://rodenbaugh.com

                               On Wed, Dec 3, 2014 at 4:14 PM, David Lahoti <david@virtualpoint.com>
                               wrote:
                                 On 12/1/2014 10:24 AM, David Lahoti wrote:
                                   Hi Mike,

                                    We sent the process to Arnold directly on the ticket.

                                    Please wire the received funds using the bank info on the ticket.

                                    Thank you,
                                    Dave


                                 --
                                 David Lahoti




                       --
                       David Lahoti



                     <Virtual Point RetentionAgreement.pdf>




https://mail.google.com/mail/u/1?ik=76c73b1610&view=pt&search=all&permthid=thread-f%3A1670296184712769718&simpl=msg-f%3A16702961847…   3/3
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                       EXHIBIT B
6/24/2020           Case 3:20-cv-04069-EMC         Document
                                     Lewis & Lin, LLC             16 Filed
                                                      Mail - Fwd: Overdue     06/26/20
                                                                          Payment;            Page
                                                                                   Withdrawal as      15 of 18
                                                                                                 Counsel



                                                                                          Michael Cilento <michael@ilawco.com>



  Fwd: Overdue Payment; Withdrawal as Counsel
  1 message




            Begin forwarded message:

            From: Mike Rodenbaugh <mike@rodenbaugh.com>
            Subject: Re: Overdue Payment; Withdrawal as Counsel
            Date: March 12, 2017 at 10:55:03 PM EDT
            To: Dave Lahoti <dave@virtualpoint.com>
            Cc: Brett Lewis <brett@ilawco.com>, Brian Kinder <bkinder@tklglaw.com>

            Dave,

            As I recall, funds received in our trust account eventually were applied against unpaid and undisputed
            invoices, and some remaining balance was written off as uncollectable.

            Best,
            Mike

            Mike Rodenbaugh
            RODENBAUGH LAW
            tel/fax: +1.415.738.8087
            http://rodenbaugh.com

            On Fri, Mar 10, 2017 at 4:53 PM, Dave Lahoti <dave@virtualpoint.com> wrote:
             Dear Mike,

              Please provide a bank transaction history of the sale funds of Taxpert.com that
              were wired into our trust account on December 1, 2014.

              Thank you,
              Dave Lahoti

              On Mon, Jan 05, 2015 at 09:10:30PM -0800, Mike Rodenbaugh wrote:
              > Dave,
              >
              > I still have no response from you, and have now not heard anything
              > substantial from you for almost a month. Therefore you are breaching other
              > provisions of our agreement which require you to respond to my inquiries as
              > to scope of services, and to keep me advised as to your whereabouts.
              > Therefore you leave us no choice but to make a motion for withdrawal as
              > counsel. As a courtesy, we will inform opposing counsel of same, and
              > request continuance of pending dates for sixty days so VPI can find new
              > counsel if it chooses, and so the settlement judge and opposing counsel are
              > not inconvenienced. Note, VPI cannot represent itself, therefore if the
              > court allows us to withdraw (as we expect), then the court will set a
              > deadline for VPI to retain alternate counsel, else will dismiss the case.
              >
              > Mike Rodenbaugh
              > RODENBAUGH LAW
              > tel/fax: +1.415.738.8087
              > http://rodenbaugh.com

https://mail.google.com/mail/u/1?ik=76c73b1610&view=pt&search=all&permthid=thread-f%3A1670416026427821309&simpl=msg-f%3A16704160264…   1/2
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                                                                                   Withdrawal as      16 of 18
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                                          


                                                                                 

                                                 

                                                 

                                        

                                        

                                        

                                                        
                                                          
                                        
                                                          
                                                      
                               
                                                          
                               
                                                        
                                                          
                               
                                                          
                                                     
  




                                                          
                               
                                                          
                                                     
                               
                                                          
                               
                                                        
                                          
                               
                                                    
                                                                          
                                                                                    
                                                                                 
                                                                          
                                                                               
                                                                                               
                                                                     
                               
                                                   
                               
                                                   
                               
                                          
                               
                                          
                               
                                          
                               
         
        
                 
                                                                                                                                                 
                  
                                          
                                              Case 3:20-cv-04069-EMC Document 16 Filed 06/26/20 Page 18 of 18
                                          


                                        

                                                  

                                        

                                                  

                                     

                                                                                                         
                                                                                                              
                                        
                                          
                                        

                                     

                               

                               

                               

                               
  




                               

                               

                               

                               

                               

                               

                               

                               

                               

                               

                               

                               

                               

                               

                               
         
        
                 
                                                                                                                                         
                  
                                          
